         Case 5:23-cv-03051-JWL Document 29 Filed 06/02/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


RONNIE ALLEN BELLAMY, JR.,                           )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )      Case. No. 23-3051-JWL
                                                     )
STATE OF KANSAS, et al.,                             )
                                                     )
               Defendants.                           )
                                                     )

                   WAIVER OF SERVICE OF SUMMONS EXECUTED

                                       KDOC Defendants

       Pursuant to Rule 4(d) of the Federal Rules of Civil Procedure, the Kansas Department of

Corrections (“KDOC”) agrees on behalf of the defendants listed below (the “KDOC Defendants”)

to waive service of process and complaint in this matter:

James Englis
Printed name of party who waives service             Printed name of party who waives service

Larry Wagner
Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service

                                                1
          Case 5:23-cv-03051-JWL Document 29 Filed 06/02/23 Page 2 of 2




                                     Non-KDOC Defendants

       The defendants listed below are not believed to be current or former KDOC employees

and will not be represented by the Kansas Attorney General (“AG”):



Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG

                                       Concluding Remarks

       Pursuant to the Prison Litigation Reform Act and the Memorandum of Understanding for

E-Service: the Martinez Report shall be due sixty (60) days from the date of this waiver and upon

the filing of that report, the Court will screen Plaintiff's Complaint and will enter an order setting

an answer deadline if the Complaint survives screening.

June 2, 2023                                          /s/ Matthew L. Shoger
Date                                                  Assistant Attorney General




                                                  2
